Case No. 1:16-cr-00054-WJM Document 35 filed 04/01/16 USDC Colorado pg 1 of 3




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO
                              Judge William J. Martínez

Criminal Case No. 16-cr-054-WJM

UNITED STATES OF AMERICA,

       Plaintiff,

v.

1.     HEATHER CARR,
2.     TRAMMEL THOMAS,
3.     MERCEDES DIAZ,

       Defendants.


              ORDER SETTING TRIAL DATE AND RELATED DEADLINES


       This matter comes before the Court for the setting of a trial date and related

deadlines upon the entry of a Discovery Conference Memorandum and Order.

Accordingly, it is hereby ORDERED as follows:

       A.      All pretrial motions shall be filed by no later than May 3, 2016. Responses

to these motions shall be filed by no later than May 13, 2016. No reply shall be

permitted without prior leave of Court. If a party believes an evidentiary hearing on a

pretrial motion is necessary, a written request for same must be made by no later than

the pretrial motion deadline;

       B.      The Court will not consider any motion related to the disclosure or

production of discovery that is addressed by the Discovery Memorandum and Order

and/or Fed. R. Crim. P. 16, unless prior to filing the motion counsel for the moving party

has conferred or made reasonable, good-faith efforts to confer with opposing counsel in
Case No. 1:16-cr-00054-WJM Document 35 filed 04/01/16 USDC Colorado pg 2 of 3




an effort to resolve the disputed matter. If the parties are unable to resolve the dispute,

the moving party shall state in the motion the specific efforts which were taken to

comply with this Order to Confer. Counsel for the moving party shall submit a proposed

order with all motions, opposed and unopposed. Opposed disclosure or discov ery

motions which do not demonstrate meaningful compliance with this Order to Confer will

be stricken;

       C.      Expert witness disclosures pursuant to Fed. R. Crim. P. 16 shall

be made no later than 14 days prior to the Final Trial Preparation Conference, and any

challenges to such experts shall be made by not later than 7 days prior to said

Conference;

       D.      Disclosures regarding rebuttal expert witnesses shall be made not later

than 7 days prior to the Final Trial Preparation Conference, and any challenges to such

rebuttal experts shall be made not later than the day prior to said Conference;

       E.      Local Rule D.C.COLO.LCrR 11.1 applies fully to this case. Absent an

Order permitting or directing otherwise, a Notice of Disposition shall be filed no later

than 14 days before the trial date. Upon the filing of a Notice of Disposition the Court

will generally convert the Final Trial Preparation Conference to a Change of Plea

hearing , unless for good cause shown a party demonstrates the interests of justice are

better served by scheduling the Change of Plea hearing at a later date;

       F.      A Final Trial Preparation Conference is hereby set for May 24, 2016 at

3:00 p.m. in Courtroom A801. Lead counsel who will try the case must attend in

person. Any outstanding motions may be addressed at the time of the Final Trial



                                             2
Case No. 1:16-cr-00054-WJM Document 35 filed 04/01/16 USDC Colorado pg 3 of 3




Preparation Conference;

       G.     The parties must be prepared to address at the Final Trial Preparation

Conference some or all of the issues which may affect the duration or course of the trial

referenced in the Court’s Revised Practice Standards applicable to such Conferences;

       H.     A 6-day jury trial is hereby set to commence in the U.S. District

Courthouse, Courtroom A801, 901 19 th Street, Denver, Colorado, on Tuesday, May 31,

2016 at 8:30 a.m. and

       I.     Counsel are directed to this Court’s Revised Practice Standards to ensure

compliance with all deadlines triggered by the setting of the Final Trial Preparation

Conference and Trial.


       DATED this 1st day of April, 2016.

                                                 BY THE COURT:



                                                 __________________________
                                                 William J. Martínez
                                                 United States District Judge




                                             3
